Case 21-05126-sms    Doc 6   Filed 04/15/22 Entered 04/15/22 08:23:21      Desc Main
                             Document      Page 1 of 3




   IT IS ORDERED as set forth below:



   Date: April 14, 2022
                                               _________________________________

                                                          Sage M. Sigler
                                                   U.S. Bankruptcy Court Judge

 ________________________________________________________________




                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

In re:                                :    CASE NUMBER:
                                      :
DELMAR EDWARD DEBOSE,                 :    21-57534-SMS
                                      :
      Debtor.                         :    CHAPTER 7
_____________________________________ :
                                      :
S. GREGORY HAYS, CHAPTER 7            :    ADVERSARY PROCEEDING NO:
TRUSTEE FOR THE ESTATE OF             :
DELMAR EDWARD DEBOSE                  :
                                      :    21-05126-SMS
      Plaintiff,                      :
v.                                    :
                                      :
CHRIS AUGUSTE,                        :
                                      :
      Defendant.                      :
_____________________________________ :_______________________________________
Case 21-05126-sms             Doc 6       Filed 04/15/22 Entered 04/15/22 08:23:21                      Desc Main
                                          Document      Page 2 of 3



      ORDER AND NOTICE OF STATUS CONFERENCE DIRECTING DEBTOR’S
                         COUNSEL TO APPEAR

         Before the Court is the Request for Entry of Default (the “Default Request,” Doc. 4), filed

by S. Gregory Hays, the Chapter 7 Trustee for the Estate of Delmar Edward DeBose (the

“Trustee”). Delmar Edwards DeBose (the “Debtor”) filed a voluntary petition for relief under

chapter 7 on October 7, 2021 (Case No. 21-575334, Doc. 1). The Trustee later filed the above

titled adversary complaint on December 14, 2021, seeking the Debtor’s half of the $208,480.94 in

net proceeds from the sale of the Debtor’s home. The Trustee contends that the Debtor was entitled

to this money as a joint owner of the property along with the defendant in this case, Chris Auguste

(the “Defendant”), who was also the Debtor’s partner. (Doc. 1). The Trustee contends that the

Debtor’s half of the proceeds was fraudulently transferred to the Defendant and instituted this

proceeding against the Defendant to unwind that transfer.1 The Defendant failed to file an answer,

and the Trustee’s Default Request was filed. No response has been filed to the Default Request.

         Debtor is represented by Philip William Lehman of The Semrad law Firm, LLC in his

bankruptcy. Bankruptcy Local Rule 9010-4 states that “an attorney who files a petition initiating

a case on behalf of a debtor … shall represent the debtor in all matters in the case . . . unless the

Bankruptcy Court permits the attorney to withdraw in accordance with BLR 9010-5.” Bankruptcy

Local Rule 9010-5, in turn, provides that “[a]n attorney who has appeared in a case . . . must obtain

permission from the Bankruptcy Court to withdraw as counsel, unless substitute counsel has made

an appearance for that party.” Debtor’s counsel has not sought permission from this Court to

withdraw. The Court therefore finds it appropriate to hold a status conference on the Default

Request. Accordingly,



1
 In Doc. 1 of the adversary, the Trustee lodges multiple theories of fraudulent transfer and recoverability by the
Trustee, as well as preservation of the transferred funds for the benefit of the estate.
Case 21-05126-sms               Doc 6     Filed 04/15/22 Entered 04/15/22 08:23:21                     Desc Main
                                          Document      Page 3 of 3



           IT IS ORDERED and NOTICE IS HEREBY GIVEN that a status conference will be

held in this case on May 11, 2022 at 10:15 a.m. in Courtroom 1201, United States Courthouse,

Richard B. Russell Federal Building, 75 Ted Turner Drive SW, Atlanta, Georgia.

           IT IS FURTHER ORDERED that Debtor’s counsel, an attorney from The Semrad Law

Firm, LLC shall appear at the status conference.2

           The Clerk is directed to serve a copy of this Order upon the Defendant, Debtor, the Debtor’s

counsel, the chapter 7 trustee, the trustee’s counsel, and the United States trustee.

                                            END OF DOCUMENT




2
    “Given the current public health crisis, hearings may be telephonic only. Please check the “Important Information

Regarding Court Operations During COVID-19 Outbreak” tab at the top of the GANB Website prior to the hearing

for instructions on whether to appear in person or by phone.”
